      Case:
    Case    25-30088    Document: 16-2
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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                  TEL. 504-310-7700
CLERK                                                       600 S. MAESTRI PLACE,
                                                                    Suite 115
                                                           NEW ORLEANS, LA 70130

                            February 24, 2025
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 25-30088     In re: Gary Westcott
                       USDC No. 3:12-CV-796

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Mary Frances Yeager, Deputy Clerk
                                  504-310-7686
Mr. Jorge Benjamin Aguinaga
Ms. Cecelia Trenticosta Kappel
Ms. Nishi L Kumar
Mr. Michael L. McConnell
  Case:
Case    25-30088    Document: 16-1
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         United States Court of Appeals
              for the Fifth Circuit                         United States Court of Appeals
                                                                     Fifth Circuit

                             ___________                            FILED
                                                            February 24, 2025
                              No. 25-30088                    Lyle W. Cayce
                             ___________                           Clerk

 In re Gary Westcott, Secretary, Louisiana Department of Public Safety
 and Corrections; Darrel Vannoy, Warden, Louisiana State Penitentiary,
 In His Official Capacity,

                                                               Petitioners.
               ______________________________

                    Petition for a Writ of Mandamus
                  to the United States District Court
                  for the Middle District of Louisiana
                        USDC No. 3:12-CV-796
               ______________________________

                      UNPUBLISHED ORDER

 Before Haynes, Ho, and Oldham, Circuit Judges.
 Per Curiam:
       IT IS ORDERED that the request for a temporary administrative
 stay of the District Court’s February 21, 2025 order is GRANTED.
